









Affirmed and Memorandum Opinion filed May 12, 2005









Affirmed and Memorandum Opinion filed May 12, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00903-CR

NO.
14-04-00904-CR

____________

&nbsp;

MARLON ALEX RIVAS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 184th District
Court

Harris County,
Texas

Trial Court Cause Nos.
926,196 &amp; 927,003

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

In both cause numbers 926,196 and 927,003, appellant entered
a guilty plea to aggravated robbery.&nbsp; On
August 20, 2004, the trial court sentenced appellant in both cause numbers to
confinement for thirty-five years in the Institutional Division of the Texas
Department of Criminal Justice.&nbsp;
Appellant filed a written notice of appeal.&nbsp; 








Appellant=s appointed counsel filed a brief in which she concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and no motion to review the record or pro
se response has been filed.

We agree the appeal is wholly frivolous and without
merit.&nbsp; Further, we find no reversible
error in the record.&nbsp; A discussion of the
brief would add nothing to the jurisprudence of the State.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 12, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).





